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 A.      The KDI/Concordia Program

         1.     In 2004, Columbus issued two $5 million life insurance policies, one insuring the

 life of Janet Cohen (CM5012414U) and one insuring the life of Anthony Romano (CM5011660U)

 (the “Policies”). (Ex. 1 at 000862; Ex. 2 at 00018533.)1

         2.     Cohen and Romano each obtained their policies through the “KDI/Concordia

 Program.” (Ex. 3 at 41:12–23; Ex. 4 at 18:11–19:5; Ex. 5 at 00018096 (¶1); Ex. 6 at 00018114

 (¶2.3(e)); Ex. 8 at 00018618 (¶1); Ex. 9 at 00018636 (¶2.3(e)).)

         3.     The KDI/Concordia Program was a plan developed and patented by Bart

 Kavanaugh that allowed wealthy insureds to take out life insurance policies through trusts, and use

 the combination of non-recourse premium financing and the proceeds of an annuity to pay

 premiums. (Ex. 4 at 17:4–18:17, 29:17–30:3; Ex. 11 at 003947-48, 50-58, 61-62; Ex. 13 at 004001

 (¶12(d)); Ex. 14 at 181:10–181:22; Ex. 117 at 1, 19; Ex. 118 at 1, 18–19.)

         4.     Under the KDI/Concordia Program, when the insureds passed away, the insured’s

 beneficiary would receive a portion of the death benefit, which ranged from approximately

         of the face amount of the policy depending on when the insured died. (Ex. 19 at 315:17–

 317:12; Ex. 13 at 004000 (¶7(a)), 4004–10; Ex. 5 at 00018098 ¶7(a)), 00018102-08; Ex. 8 at

 00018620 (¶7(a)), 00018624-30; Ex. 11 at 003958.)

         5.     The lender that purchased the annuity and funded the premium payments would

 receive the rest of the death benefit. (Ex. 14 at 201:9–207:14, 113:14–114:11; Ex. 11 at 003958,

 003961–62; Ex. 4 at 22:1–23:6; Ex. 3 at 134:12–135:11; Ex. 13 at 003999 (¶2), 004000 (¶8),

 004025-27 (¶5.2(a)-(c)).)



 1
  “Ex. __” refers to the exhibits attached to the Declaration of Robert E. Griffin, dated April 29,
 2022. When citing to documents produced in these cases, Securities Intermediary will reference
 only the numerical portions of the Bates stamps.
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        6.     The lender who financed the KDI/Concordia Program—Columbus Circle Capital

 LLLP (“Columbus Circle”), an entity operated by Kavanaugh—was contractually owed a

 percentage of the death benefit as compensation for acting as an interim lender. (Ex. 4 at 57:5–

 57:19; Ex. 6 at 00018123 (¶5.2); Ex. 9 at 00018645 (¶5.2); Ex. 14 at 254:22–257:24, 270:15–

 271:10; Ex. 19 at 315:17–317:12; Ex. 13 at 004000 (¶7(a)), 4004-10.)

        7.     Cohen and Romano sold the Policies after Kavanaugh was unable to secure the

 long-term financing from an institutional lender necessary to purchase the annuities that would

 fund the life insurance premiums in the KDI/Concordia Program, as Kavanaugh had done

 successfully with earlier tranches of the KDI Plan. (Ex. 21 at 004290-91; Ex. 4 at 66:20–67:11,

 238:5–238:17, 240:23–241:18; Ex. 14 at 72:22–73:7, 121:5–123:6; Ex. 22 at 004325; Ex. 29 at

 0000010-13; Ex. 30 at 000002-5.)

        8.     Columbus Circle was providing interim financing until Kavanaugh could secure a

 long-term institutional lender, and the vast majority of the death benefit owed to the commercial

 lender was designed to cover the cost of buying the annuity which would fund future premiums.

 (Ex. 3 at 142:13–142:21; Ex. 11 at 003958, 3961; Ex. 14 at 36:11–37:14, 268:16–269:17; Ex. 21

 at 004290; Ex. 23 at 000618; Ex. 24 at 00018683.)

 B.     Columbus Learns the Key Facts It Claims Render the Policies Invalid in 2003/2004

        9.     Columbus brought its lawsuits challenging the validity of the Policies in May 2020.

 (Cohen Dkt. 1; Romano Dkt. 1.)

        10.    In late 2003 or early 2004, before Columbus issued the Policies, Columbus met

 with the people responsible for creating and marketing the KDI/Concordia Program, including

 Kavanaugh and two life insurance producers named Ed Leisher and Amy Holmwood. (Ex. 4 at

 27:12–30:3; Ex. 3 at 33:7–37:4; Ex. 19 at 192:12–194:6.)

        11.    Leisher and Holmwood ran a general agency called Potomac, which worked with
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 insurance brokers who themselves had clients interested in the KDI/Concordia Program. (Ex. 4 at

 14:16–16:7, 107:11–107:17; Ex. 19 at 35:12–35:12, 40:20–41:11, 42:4–43:7.)

        12.     The meeting took place at a conference room in Columbus’ offices, and it involved

 some of Columbus’ most senior executives. (Ex. 4 at 25:17–30:3; Ex. 3 at 33:7–36:11.)

        13.     Columbus no longer has documents reflecting what specifically happened at that

 late 2003/early 2004 meeting. (Ex. 3 at 126:15–128:8, 137:22–138:11.)

        14.     Columbus learned about the KDI/Concordia Program at that meeting, and this

 meeting occurred prior to Columbus’ decision to issue the Policies (as well as several other policies

 associated with the KDI/Concordia Program). (Ex. 3 at 33:7–33:20, 124:23–125:15.)

        15.     Several months after that meeting in Columbus’ office (in the summer of 2004),

 Columbus issued the Romano Policy, the Cohen Policy, and several other premium financed

 policies that Columbus knew were associated with the KDI/Concordia Program. (Ex. 1; Ex. 2;

 Ex. 3 at 75:13–76:25.)

        16.     On June 25, 2004, Columbus exchanged emails with one of Leisher and

 Holmwood’s colleagues concerning the “rush cases for KDI,” which specifically referred to the

 Romano Policy and in which Columbus was informed “[t]hese are straight premium finance

 cases,” “the source of the funds … will be the same bank for all of these cases,” and “[t]here are

 additional cases to come, [it’s] only these 6 cases where we have the time crunch.” (Ex. 25 at

 002208; Ex. 3 at 75:13–76:25.)

        17.     Hours later, Columbus circulated internal emails reflecting that the Romano Policy

 should be given “highest priority.” (Ex. 26 at 002211–2212; Ex. 3 at 298:11–299:14.)

        18.     Shortly after issuing the Policies, Columbus learned that both Policies had been

 assigned as loan collateral to Columbus Circle. (Ex. 27; Ex. 28.)



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        19.     On July 19, 2004 (for Romano) and August 13, 2004 (for Cohen), Columbus wrote

 to a Columbus Circle affiliate that “[w]e are in receipt of the special Collateral Assignment

 document, and as requested, have had this document reviewed by our legal staff.” (Ex. 27 at

 002251; Ex. 28 at 004216.) In both letters, Columbus wrote, “[o]ur attorneys have recommended

 that we provide you with the attached signed Acknowledgement of Assignment.” (Ex. 27 at

 002251; Ex. 28 at 004216.)

        20.     Columbus’s attorneys reviewed the “Assignment of Life Insurance Policy as

 Collateral” contracts for both Policies, which gave Columbus Circle the right to acquire the

 Policies if the insureds’ trusts (which owned the Policies) defaulted on the premium finance loans.

 (Ex. 27 at 002257; Ex. 28 at 004222; Ex. 3 at 86:2–89:18, 96:14–97:20, 112:17–118:5.)

        21.     On September 21, 2004, Columbus attended a WebEx meeting with representatives

 of the KDI/Concordia Program, in which they explained the KDI/Concordia Program to

 Columbus. (Ex. 3 at 121:21–157:1; Ex. 11 at 003937–66; Ex. 13 at 003996–4038.)

        22.     This September 21, 2004 WebEx was the second time Columbus executives

 attended a presentation regarding the KDI/Concordia Program. (Ex. 3 at 123:3–123:6.)

        23.     After the September 21, 2004 meeting, a Columbus Circle representative emailed

 Mark Wilkerson—who was then Chief Marketing Officer at Columbus—the PowerPoint that had

 been presented at the meeting, as well as samples of the Participation Agreement and Trust

 Agreement that insureds had to sign to participate in the KDI/Concordia Program. (Ex. 11; Ex.

 13; Ex. 3 at 120:21–123:6, 146:18–148:19.) Those materials were then circulated internally at

 Columbus among its senior executives. (Ex. 11 at 003937; Ex. 13 at 003995.)

        24.     Section 6 of the sample Participation Agreement Columbus received stated that the

 life insurance policies would be pledged as collateral on the premium finance loans, and “[i]n the



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 event the Trust is unable to fulfill its obligations under the loans and such other agreements, the

 lenders and such other parties will have the right to obtain ownership of the life insurance policies

 pledged as security for the loans and such other agreements.” (Ex. 13 at 003999–4000.)

        25.     Section 12 of the Participation Agreement stated that “under no circumstances shall

 the Trustee, the Insured or the Owners be personally liable for the payment of any indebtedness or

 expenses of the Trust or be liable for any breach or failure of any obligation, representation,

 warranty or covenant made or undertaken by the Trust under this Participation Agreement, the

 Trust Agreement or any other document.” (Ex. 13 at 004001.)

        26.     Section 7(a) of the Participation Agreement stated that “[u]nder the Trust

 Agreement, the Owners shall be entitled to receive, subject to prior liens of lenders and the

 satisfaction of the obligations of the Trust, the portion of the death benefit allocated to the Owners,

 as described in the attached schedule (the ‘scheduled death benefit’).” (Ex. 13 at 004000.)

        27.     Section 8(b) of the Participation Agreement stated that “[u]nder no circumstances

 can the Owners or any permitted successor(s) or assign(s) of the Owners’ beneficial interest in the

 Trust receive a distribution from the Trust of a portion of the death benefit from the life insurance

 policies on the life of the Insured that is greater than the Owners’ allocable scheduled death benefit

 as set forth on the attached schedule.” (Ex. 13 at 004000.)

        28.     The Participation Agreement attached a Scheduled Death Benefit chart which

 showed that the insured’s beneficiary would obtain a portion of the death benefit that increased

 over time. (Ex. 13 at 004004.)

        29.     Section 2.6 of the sample Trust Agreement that Columbus received stated that the

 trust’s owners “shall not be liable for any liabilities and obligations of the Trust,” and Columbus

 testified that it was aware of the Trust Agreement’s provisions. (Ex. 13 at 004017 (¶2.6); Ex. 3 at



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 155:24–157:1.)

        30.     The PowerPoint presentation identified that the KDI/Concordia Program involved

 the use of premium financing and that the insured was only entitled to a portion of the death benefit.

 (Ex. 11 at 003958–62.)

        31.     The PowerPoint presentation showed that the policy’s death benefit would be split

 between the insured’s beneficiary and the commercial lender according to a “scheduled death

 benefit” payout chart, which depended entirely on how long the insured lived. (Ex. 11 at 003958.)

 C.     Cohen and Romano Sell Their Policies Into the Secondary Market After Kavanaugh
        Is Unable to Obtain Long-Term Financing for the KDI/Concordia Program.

        32.     Kavanaugh was ultimately unable to secure the long-term financing from an

 institutional lender that was needed to buy the annuities which were to be used to keep the life

 insurance policies in force. (Ex. 21 at 004290–91; Ex. 4 at 66:20–67:11; Ex. 14 at 72:22–73:7;

 Ex. 4 at 238:5–17, 240:23–241:18.)

        33.     Under the Concordia Plan, Columbus Circle was only meant to act as an interim

 lender while Kavanaugh negotiated with institutional banks. (Ex. 14 at 69:23–70;13, 84:8–85:25;

 Ex. 21 at ¶1, 004290–91; Ex. 4 at 66:11–72:13.)

        34.     After Kavanaugh’s inability to obtain long-term financing, the majority (but not all)

 of the insureds who took out policies as part of the Concordia Plan decided to sell their policies

 through beneficial interest transactions. (Ex. 14 at 69:23–70:13, 84:8–85:25.)

        35.     On April 14, 2005, Cohen and Romano both signed contracts titled “Authorization

 to Sell Life Insurance Policy to Pay Off Premium Finance Loan,” in which they had the option of

 (1) authorizing Columbus Circle to sell the Policies and use the proceeds to repay the premium

 finance loans, or (2) repaying Columbus Circle the loan balances and keeping the Policies. (Ex.

 29 at 0000010–13; Ex. 30 at 000002; Ex. 33; Ex. 14 at 84:14–85:19; 121:5–123:6.)


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        36.     Cohen and Romano both elected to sell their Policies. (Ex. 29 at 0000010–13; Ex.

 30 at 000002; Ex. 33; Ex. 14 at 84:14–85:19; 121:5–123:6.)

        37.     On April 21, 2005, Columbus Circle entered into a Purchase and Sale Agreement

 to sell the Policies to Invest SLPS LLC (an entity not affiliated with Columbus Circle or

 Kavanaugh) alongside dozens of other KDI/Concordia policies. (Ex. 31 at 00000010–11; Ex. 14

 at 84:13–85:8.)

        38.     Cohen and Romano both profited from the sales of their Policies because the sale

 proceeds exceeded the loan balance. (Ex. 93; Ex. 14 at 160:20–163:9, 261:24–262:19.)

 D.     Columbus Continues Its Analysis of the KDI/Concordia Program and Publishes Anti-
        STOLI Memos in 2005.

        39.     In May 2005, Columbus informed its producers that it would no longer accept

 policies where the insureds used non-recourse loans to pay premiums and were intending to sell

 the policies. (Ex. 32; Ex. 34.)

        40.     In a May 2005 memo, Columbus wrote that “we wish to make clear our position in

 not accepting applications taken as a part of a non-recourse premium financing program which

 may violate insurable interest or other insurance or consumer protection laws.” (Ex. 32 at 000002.)

        41.     On July 18, 2005, Columbus wrote “Columbus Life is not interested in writing

 investor-owned type business,” and “we are also not interested in business where non-recourse

 notes make selling the policy to a secondary market maker attractive.” (Ex. 34 at 000014.)

        42.     On May 11, 2005, Columbus internally recirculated the KDI/Concordia

 PowerPoint presentation that Columbus’ executives had reviewed in September 2004. (Ex. 35 at

 003936–3995.)

        43.




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                               (Ex. 36 at 0009221–72; Ex. 3 at 180:21–191:9.)

        44.




              (Ex. 36 at 0009272.)

        45.     Columbus discussed how Potomac—Leisher and Holmwood’s agency that

 marketed the KDI/Concordia Program—was connected to a significant percentage of Columbus’

 policies on elderly individuals. (Ex. 36 at 0009239–40; 9242; 9272.)

 E.     Columbus Conducts an Internal Investigation Into the KDI/Concordia Program in
        September 2005.

        46.     On August 3, 2005, Columbus received a letter from the Erwin & Johnston LLP

 law firm, seeking information about the Cohen Policy, the Romano Policy, and several other

 policies that were associated with the KDI/Concordia Program. (Ex. 37 at 000306.)

        47.     Three weeks later (on August 25, 2005), Columbus responded to Erwin & Johnson

 that it could not provide the requested information until Erwin & Johnson submitted an application

 to change the trustee associated with the policies. (Ex. 38 at 000307.)

        48.     On September 7, 2005, the Capital Trust Company of Delaware—the trustee of the

 Janet Cohen Delaware Trust—submitted forms to Columbus seeking to change the owner and

 beneficiary on the Cohen Policy to an entity called 70091V Life Settlement Trust, c/o Erwin &

 Johnson LLP, as Trustee. (Ex. 39 at 000334, 4239–4241.)

        49.




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                                                                                  (Ex. 40 at 004341–

4342.)

         50.

                                                                                 (Ex. 40 at 004342.)

         51.   Later that day, on September 7, 2005, Columbus Life sent a final version of that

letter to Erwin & Johnson, which contained a new paragraph that was not in the original draft

circulated earlier that day: “We are also reviewing insurable interest issues in connection with

both attempted transfers and procurement of these and other policies. We reserve the right to take

additional action including rescission.” (Ex. 41 at 000311.)

         52.   Columbus testified that “these and other policies” referred to policies that

Columbus knew were part of the KDI/Concordia Program, which would include both the Cohen

and Romano Policies. (Ex. 42 at 71:11–73:8.)

         53.   In letters sent by Columbus between September and December 2005 to Leisher and

Holmwood—the KDI/Concordia producers—Columbus stated that it was “further investigating

the purpose of insurance disclosed in the application, as well as the patterns and practices related

to this and other insurance policies.” (Ex. 45 at 004383, 004384; Ex. 46 at 004349; Ex. 3 at 225:7–

225:9; Ex. 42 at 88:8–89:18.)

         54.   In response to one of Columbus’ rescission letters, Holmwood sent Columbus a

letter dated September 15, 2005 stating that (1) the institutional lender they had previously used

for other tranches of the KDI Plan (AI Credit) was no longer able to provide competitive financing;

(2) the people running the KDI/Concordia Program had decided to implement a block of policies

through interim financing, with the expectation that a different lender would refinance the debt;

and (3) once the refinancing efforts failed, the insureds decided to sell the policies to a third-party



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buyer. (Ex. 21 at 004290–92.)

       55.     In her September 15, 2005 letter, Holmwood told Columbus that the insureds who

participated in the KDI/Concordia Program never had any intent to sell the polices to an investor

at the time they were procured. (Ex. 21 at 004291.)

       56.     Columbus contemplated making phone calls to certain insureds, but Columbus does

not know which of the insureds (if any) Columbus ultimately contacted. (Ex. 47 at 004336–39;

Ex. 42 at 91:16–93:21; Ex. 3 at 244:7–245:7.)

       57.     One of Columbus’ 30(b)(6) witnesses (Robert Noschang) testified that Columbus

considered doing an insurable interest review, but decided to focus on whether it could rescind

policies in the KDI/Concordia Program for undisclosed, in-force insurance coverage in the policy

applications. (Ex. 42 at 81:5–18.)

       58.     Another Columbus 30(b)(6) witness (Lisa Fangman) testified that Columbus

conducted an insurable interest review based on the contents of Columbus’ September 7, 2005

letter to Erwin & Johnson, but Columbus could not locate any documents evidencing the scope of

the review nearly two decades later. (Ex. 3 at 220:9–223:15, 250:4–251:21.)

       59.     Mark Wilkerson—Columbus’ former Chief Marketing Officer—remembers that

Columbus conducted an insurable interest review concerning policies associated with Leisher (one

of the KDI/Concordia producers), but he has no memory of the specifics of Columbus’ insurable

interest review. (Ex. 94 at 132:16–137:4.)

       60.     The vast majority of the people who were employed at Columbus during the

September 2005 time period, and who appear on the relevant emails from this time period, are no

longer at Columbus. (Ex. 3 at 265:2–269:20.)

       61.     In January 2019, Columbus’ parent company Western & Southern Financial Group



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(“W&S”)—implemented a company-wide email destruction policy that resulted in the loss of

documents created prior to January 2016. (Ex. 3 at 259:19–260:16; Ex. 43; Ex. 44 at 004455–

004458.)

          62.   According to W&S, one of the benefits of the policy was that it “[r]educes litigation

and regulatory risk by helping to manage the amount of searchable content as well as the cost

associated with searching emails for these purposes.” (Ex. 44 at 004455.)

F.        Columbus Constantly Flags the Cohen Policy and the Romano Policy as Potential
          STOLI Policies from 2006 Through 2014.

          63.   In 2006, Columbus began tracking what it called “potential investor owned/life

settlement polices,” which were initially tracked on an internal Columbus webpage. (Ex. 48 at

007876; Ex. 42 at 178:5–18, 179:6–179:10.)

          64.   In December 2010, Columbus began circulating reports via email concerning

“Possible Investor Owned / Life Settlement Policies,” which flagged both the Cohen and Romano

Policies. (Ex. 49 at 007856, 7863.)

          65.   These reports were designed to capture policies that Columbus believed were either

STOLI policies or life settlement policies. (Ex. 42 at 208:1–17.)

          66.   Columbus updated these reports regularly from 2010 through 2014, repeatedly

flagging the Cohen and Romano Policies. (Ex. 50 at 006537, 006544; Ex. 51 at 008989, 008996;

Ex. 52 at 004092, 004099; Ex. 53 at 004979, 004986; Ex. 54 at 005378, 005384; Ex. 42 at 246:13-

247:3.)

          67.   Both Policies were flagged on Columbus’ internal webpage at some point between

2006 and December 2010, but Columbus did not know when. (Ex. 42 at 180:10–21.)

          68.   In January 2012, Columbus’ then-president J.J. Miller requested that Columbus

prepare a separate report with a different methodology designed to capture STOLI policies. (Ex.


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55 at 004501; Ex. 42 at 233:3–7, 235:19–22.)

       69.




             (Ex. 55 at 004501-004502.)

       70.       Columbus testified that—based on its search criteria—the spreadsheet requested by

Columbus’ president included both the Cohen and Romano Policies. (Ex. 55 at 004502; Ex. 42 at

232:10–244:6.)

       71.       According to one of Columbus’ 30(b)(6) witnesses, Columbus believed that its

STOLI-tracking efforts were not worthwhile because Columbus believed it was “stuck with”

policies that it believed were potentially STOLI. (Ex. 42 at 246:13–250:12.)

G.     Columbus Acknowledges Six Ownership and Beneficiary Changes, and Regularly
       Represents that the Policies are Active, In-Force Policies.

       72.       From 2005 through 2017, Columbus Life approved six separate ownership and

beneficiary changes on the Policies including when Securities Intermediary acquired the Policies

in 2017. (Ex. 42 at 116:19–119:12; Ex. 56; Ex. 57; Exs. 62–71.)

       73.       In 2006, Columbus learned both Policies were under the control of a receiver, after

the SEC brought an enforcement action against ABC Viaticals—the entity that beneficially owned

the Policies. (Ex. 42 at 154:3-164:12; Ex. 87; Ex. 88; Ex. 89; Ex. 90.)

       74.       In January 2009, after learning that the SEC receiver was selling the Policies as part

of a court-approved sale process, Columbus approved the ownership and beneficiary changes to

Orca LSI Trust. (Ex. 42 at 154:3-164:12; Ex. 91; Ex. 92.)

       75.       In certain instances, Columbus’ in-house attorneys reviewed the ownership and

beneficiary changes. (Ex. 42 at 130:2–134:10; see generally Exs. 101–109.)


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       76.     Columbus issued annual reports every year on both the Cohen and Romano

Policies, which Columbus only issues for active, in-force policies. (Exs. 72–73; Exs. 75–76; Ex.

42 at 271:14–272:1.)

       77.     Columbus also issued dozens of verifications of coverage on the Policies over the

life of the Policies, in which Columbus represented to the Policy owners that the Policies were

“active,” “premium paying,” and “in force.” (Exs. 77–80; Ex. 42 at 282:7–284:2.)

       78.     Columbus also sent out in-force policy illustrations, which Columbus only provides

for active, in-force policies. (Exs. 81–84; Ex. 42 at 302:19–304:17.)

       79.     Columbus has collected $5,692,951.41 in premiums on the Romano Policy and

$4,653,336.35 in premiums on the Cohen Policy since the inception of the Policies through

Romano’s death in 2022 and through the present for Cohen (who is still alive). (Declaration of

Ryan Harrison, dated April 28, 2022 (“Harrison Decl.”) ¶¶ 3, 5; see also Exs. 115–116.)

H.     Columbus Attends an Industry Conference With Cozen O’Connor, Hires Cozen, and
       Conducts a Second Internal Investigation Into the KDI/Concordia Policies.

       80.     In October 2018, a Columbus assistant vice president named Justin Payne attended

a conference which included a marketing presentation on STOLI litigation by Cozen O’Connor—

Columbus’s counsel in this case. (Ex. 85 at 28:10–33:16; Ex. 86.)

       81.     During the marketing presentation, Cozen explained that the firm had success

litigating STOLI cases on behalf of carriers, and that Cozen believed there was an argument that

courts would let carriers void policies and keep the premiums. (Ex. 85 at 52:6–52:15; Ex. 86 at

006323–31.)

       82.

                                                                         (Ex. 43.)

       83.     Columbus testified that if Columbus had known before it filed the Cohen and


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Romano cases that it would have to return all of the premiums received on the Cohen and Romano

Policies, “it would have been considered and it would have had an impact on the decision to file

in regards to the general cost benefit analysis.” (Ex. 85 at 61:5–16.)

       84.     Columbus also testified that it was “correct” that “it would have been economically

irrational to pay attorneys years’ worth of litigation costs to save $10 million in death benefits if

[Columbus] ha[d] to pay out $10.2 million in premiums.” (Ex. 85 at 61:18–62:2, 154:2–155:8.)

I.     Securities Intermediary’s Acquisition of the Policies on Behalf of Viva.

       85.     In October 2016, Securities Intermediary acquired the Cohen and Romano Policies

on behalf of its customer, Viva Capital Trust, as part of a portfolio that contained

         “the Portfolio”). (Ex. 110 at 0000729.)

       86.     Viva acquired the Portfolio in a UCC sale after Delta Lloyd, the lender to the prior

Portfolio owner (the Orca Trust), foreclosed on the loan and sold the Portfolio. (Ex. 111 at 61:10–

14.)

       87.     Viva’s investment adviser, Preston Ventures LLC (“Preston”), and its legal counsel

conducted due diligence on the Portfolio on Viva’s behalf. (Ex. 111 at 63:25–64:5.)

       88.     In the 30(b)(6) deposition of Viva, Preston, and Blackstone, Jon Nelson (CEO of

Preston) testified that the documents made available in the data room would have included the

Policies, Policy applications, HIPAA and medical information, a letter confirming the payoff of

the premium finance loan used for the Policies, verifications of coverage and acknowledgments

by Columbus, policy illustrations issued by Columbus over the years, confirmation of premium

payments, and any information that would have suggested any issue or challenge to the Policies

(had there been any). (Ex. 111 at 126:10–127:11.)

       89.     Nelson testified that the information regarding the Cohen and Romano Policies that

was available in the data room did not include the Participation Agreements, Trust Agreements, or
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Master Funding Agreements, and Viva did not have copies of these documents when it acquired

the Policies. (Ex. 111 at 130:21–131:5; 134:18–135:1.)

       90.     Nelson testified that they did not know what the KDI/Concordia Program was or

who Bart Kavanaugh was at the time of their pre-acquisition diligence, or who owned or operated

Columbus Circle. (Ex. 111 at 166:13–22, 165:7-24.)

       91.     Nelson testified that at the time of Viva’s acquisition, they understood that the

insureds used premium financing to pay premiums but did not know whether the loans were

recourse or non-recourse. (Ex. 111 at 13:23–14:3, 131:23–132:3, 135:11–14.)

       92.     The servicer to Delta Lloyd for the Portfolio—Maple Life Analytics, LLC (which

had been servicing the Portfolio since 2010)—provided certain representations and warranties in

perpetuity for the Portfolio. (Ex. 111 at 118:22–119:3; 144:9–23; 148:3–10; 198:23–25.)

       93.     Maple Life represented that its diligence review of the Cohen and Romano Policies

“did not disclose facts or circumstances which, in the commercially reasonable judgment of

[Maple Life] would raise a material question as to whether the prima facie terms of the applicable

insurable interest laws were met at the time of policy issuance.” (Ex. 112 at A0000066; A0000072;

A0000138; Ex. 111 at 203:19–205:23.)

       94.     Nelson testified that Maple Life confirmed that it was “not able to capture any more

information than [w]hat was available in the data room.” (Ex. 111 at 172:6–17.)




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                                            Respectfully submitted,

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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

COLUMBUS LIFE INSURANCE                 *
COMPANY,                                *
                                        *
                Plaintiff,              *
                                        *
        v.                              *           No. 1:20-cv-00735-JLH
                                        *           No. 1:20-cv-00736-JLH
WILMINGTON TRUST, N.A., as              *
Securities Intermediary,                *
                                        *
                Defendant.              *
___________________________________ *
                                        *
WILMINGTON TRUST, N.A., as              *
Securities Intermediary,                *
                                        *
                Counterclaim-Plaintiff, *
                                        *
        v.                              *
                                        *
COLUMBUS LIFE INSURANCE                 *
COMPANY,                                *
                                        *
                Counterclaim-Defendant. *
                                        *

                               CERTIFICATE OF SERVICE

       I hereby certify that on April 29, 2022, my firm served true and correct copies of the (i)

Wilmington Trust, N.A., as Securities Intermediary’s Consolidated Opening Brief in Support of

its Motion for Summary Judgment; (ii) Declaration of Robert E. Griffin; (iii) Declaration of

Ryan Harrison; and (iv) Statement of Material Facts Not in Dispute of Defendant/Counterclaim-

Plaintiff Wilmington Trust, N.A., as Securities Intermediary upon all counsel of record via

CM/ECF.
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Dated: April 29, 2022




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